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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L

This document relates to:

Bill Black, et al.
v.
Merck & Co., Inc.

JUDGE FALLON
MAGISTRATE JUDGE KNOWLES

Only with regard to:
Michael Arnaud

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Docket No. 2:05-cv-04452

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Michael Arnaud in the above-captioned case
be and they hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
